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Case: 3:22-cv-00049-MPM-JMV Doc #: 1-1 Filed: 04/04/22 2 of 16 PageID #: 8
Case: 3:22-cv-00049-MPM-JMV Doc #: 1-1 Filed: 04/04/22 3 of 16 PageID #: 9
Case: 3:22-cv-00049-MPM-JMV Doc #: 1-1 Filed: 04/04/22 4 of 16 PageID #: 10
Case: 3:22-cv-00049-MPM-JMV Doc #: 1-1 Filed: 04/04/22 5 of 16 PageID #: 11
Case: 3:22-cv-00049-MPM-JMV Doc #: 1-1 Filed: 04/04/22 6 of 16 PageID #: 12
Case: 3:22-cv-00049-MPM-JMV Doc #: 1-1 Filed: 04/04/22 7 of 16 PageID #: 13
Case: 3:22-cv-00049-MPM-JMV Doc #: 1-1 Filed: 04/04/22 8 of 16 PageID #: 14
Case: 3:22-cv-00049-MPM-JMV Doc #: 1-1 Filed: 04/04/22 9 of 16 PageID #: 15
Case: 3:22-cv-00049-MPM-JMV Doc #: 1-1 Filed: 04/04/22 10 of 16 PageID #: 16
Case: 3:22-cv-00049-MPM-JMV Doc #: 1-1 Filed: 04/04/22 11 of 16 PageID #: 17
Case: 3:22-cv-00049-MPM-JMV Doc #: 1-1 Filed: 04/04/22 12 of 16 PageID #: 18
Case: 3:22-cv-00049-MPM-JMV Doc #: 1-1 Filed: 04/04/22 13 of 16 PageID #: 19
Case: 3:22-cv-00049-MPM-JMV Doc #: 1-1 Filed: 04/04/22 14 of 16 PageID #: 20
Case: 3:22-cv-00049-MPM-JMV Doc #: 1-1 Filed: 04/04/22 15 of 16 PageID #: 21
Case: 3:22-cv-00049-MPM-JMV Doc #: 1-1 Filed: 04/04/22 16 of 16 PageID #: 22
